                                      Case 18-14610              Doc 1        Filed 04/06/18           Page 1 of 29

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                3-D Concepts, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1006 Parksley Ave
                                  Baltimore, MD 21223
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Baltimore City                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                        Case 18-14610               Doc 1         Filed 04/06/18              Page 2 of 29
Debtor    3-D Concepts, LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                     Case 18-14610                 Doc 1        Filed 04/06/18            Page 3 of 29
Debtor   3-D Concepts, LLC                                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                     Case 18-14610                Doc 1        Filed 04/06/18             Page 4 of 29
Debtor    3-D Concepts, LLC                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 6, 2018
                                                  MM / DD / YYYY


                             X   /s/ Mark Hendricks                                                       Mark Hendricks
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Owner




18. Signature of attorney    X   /s/ Marc A. Ominsky, Esq.                                                 Date April 6, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Marc A. Ominsky, Esq. 13956
                                 Printed name

                                 Law Offices of Marc A. Ominsky
                                 Firm name

                                 10632 Little Patuxent Pkwy
                                 Suite 249
                                 Columbia, MD 21044
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (443) 539-8712                Email address      marc@mdlegalfirm.com

                                 13956 MD
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                          Case 18-14610                   Doc 1        Filed 04/06/18            Page 5 of 29




 Fill in this information to identify the case:

 Debtor name         3-D Concepts, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 6, 2018                           X /s/ Mark Hendricks
                                                                       Signature of individual signing on behalf of debtor

                                                                       Mark Hendricks
                                                                       Printed name

                                                                       Owner
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                                                  Case 18-14610                            Doc 1               Filed 04/06/18                         Page 6 of 29
 Fill in this information to identify the case:

 Debtor name            3-D Concepts, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              6,496.76

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $              6,496.76


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           390,532.95


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             390,532.95




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                          Case 18-14610                  Doc 1      Filed 04/06/18          Page 7 of 29
 Fill in this information to identify the case:

 Debtor name         3-D Concepts, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                          12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                       Current value of
                                                                                                                                           debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                                 Last 4 digits of account
                                                                                                                number


           3.1.     BOA as of 4/6/18                                            checking                        1947                                       $170.78



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                            $170.78
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 6,325.98   -                                0.00 = ....                             $6,325.98
                                              face amount                           doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                   page 1
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                                          Case 18-14610                   Doc 1      Filed 04/06/18          Page 8 of 29

 Debtor         3-D Concepts, LLC                                                                  Case number (If known)
                Name


            11b. Over 90 days old:                                   12,911.35   -                        12,911.35 =....              $0.00
                                              face amount                            doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                $6,325.98
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 2
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                                          Case 18-14610               Doc 1      Filed 04/06/18       Page 9 of 29

 Debtor         3-D Concepts, LLC                                                            Case number (If known)
                Name


        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                  page 3
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                                            Case 18-14610                      Doc 1            Filed 04/06/18                       Page 10 of 29

 Debtor          3-D Concepts, LLC                                                                                   Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                      Current value of real
                                                                                                     personal property                     property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $170.78

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $6,325.98

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                  $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $6,496.76           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                      $6,496.76




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                                        Case 18-14610                Doc 1   Filed 04/06/18         Page 11 of 29
 Fill in this information to identify the case:

 Debtor name         3-D Concepts, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                                        Case 18-14610                      Doc 1            Filed 04/06/18                   Page 12 of 29
 Fill in this information to identify the case:

 Debtor name         3-D Concepts, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                       Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                   $0.00      $0.00
           Comptroller of Maryland                                   Check all that apply.
           301 W. Preston Street                                        Contingent
           Rm 409                                                       Unliquidated
           Baltimore, MD 21201                                          Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes- For Informational Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                   $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
           Department of the Treasury                                   Contingent
           P.O. Box 7346                                                Unliquidated
           Philadelphia, PA 19154-0030                                  Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes- For Informational Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 3
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                                        Case 18-14610                  Doc 1        Filed 04/06/18                 Page 13 of 29
 Debtor       3-D Concepts, LLC                                                                       Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,098.22
          American Express Business Lowe's                                      Contingent
          P.O. Box 650448                                                       Unliquidated
          Dallas, TX 75265-0448                                                 Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Credit
          Last 4 digits of account number 1007
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Angel Donchev                                                         Contingent
          2410 17th St., NW                                                     Unliquidated
          Ste 308
                                                                                Disputed
          Washington, DC 20009
          Date(s) debt was incurred 2016
                                                                             Basis for the claim:    Contract - Breach Lit
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,430.86
          Bank of America                                                       Contingent
          PO Box 982238                                                         Unliquidated
          El Paso, TX 79998-2238                                                Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Credit
          Last 4 digits of account number       9792
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $237.12
          Bank of America                                                       Contingent
          PO Box 982238                                                         Unliquidated
          El Paso, TX 79998-2238                                                Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Credit
          Last 4 digits of account number       5192
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,944.29
          Bank of America                                                       Contingent
          PO Box 982238                                                         Unliquidated
          El Paso, TX 79998-2238                                                Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Credit
          Last 4 digits of account number       4029
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,086.18
          CitiBusiness Mastercard                                               Contingent
          P.O. Box 78045                                                        Unliquidated
          Phoenix, AZ 85062-8045                                                Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Credit
          Last 4 digits of account number       6928
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,428.67
          CitiBusiness Visa Card                                                Contingent
          P.O. Box 78045                                                        Unliquidated
          Phoenix, AZ 85062-8045                                                Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Credit
          Last 4 digits of account number       2287
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 3
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                                        Case 18-14610                  Doc 1        Filed 04/06/18                    Page 14 of 29
 Debtor       3-D Concepts, LLC                                                                       Case number (if known)
              Name

 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $250,000.00
           Dr. Steven Price
           c/o Rubin, Winston, Diercks, Harris                                  Contingent
           1201 Connecticut Ave, NW                                             Unliquidated
           Ste 200                                                              Disputed
           Washington, DC 20036
                                                                             Basis for the claim:    Disputed claim
           Date(s) debt was incurred
           Last 4 digits of account number      wnRd,NW                      Is the claim subject to offset?         No     Yes


 3.9       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,307.61
           Home Depot                                                           Contingent
           P.O. Box 78047                                                       Unliquidated
           Phoenix, AZ 85062                                                    Disputed
           Date(s) debt was incurred     2017                                Basis for the claim:    Credit
           Last 4 digits of account number      1599
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Klaproth Law PLLC
           Brendan J. Klaproth, Esq                                                                   Line     3.2
           406 5th St, NW
                                                                                                             Not listed. Explain
           Ste 350
           Washington, DC 20001


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                     390,532.95

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                        390,532.95




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 3
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                                        Case 18-14610                Doc 1   Filed 04/06/18           Page 15 of 29
 Fill in this information to identify the case:

 Debtor name         3-D Concepts, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                        Case 18-14610                Doc 1     Filed 04/06/18      Page 16 of 29
 Fill in this information to identify the case:

 Debtor name         3-D Concepts, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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                                        Case 18-14610                 Doc 1         Filed 04/06/18             Page 17 of 29



 Fill in this information to identify the case:

 Debtor name         3-D Concepts, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                 $12,500.00
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                 $86,250.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                                 $50,000.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       3-D Concepts, LLC                                                                         Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Angel Donchev v. 3-D                              Contract                   Superior Court of the DC                     Pending
               Concepts, LLC                                                                500 Indiana Ave, NW                          On appeal
               2017 CA 005463B                                                              Rm-JM170
                                                                                                                                         Concluded
                                                                                            Washington, DC 20001


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor        3-D Concepts, LLC                                                                            Case number (if known)




       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.    Law Offices of Marc A.
                Ominsky, LLC
                10632 Little Patuxent Pkwy
                Suite 249                                                                                                      2/23/2018 &
                Columbia, MD 21044                                   Check and cash                                            3/3/2018                  $2,500.00

                Email or website address
                info@mdlegalfirm.com

                Who made the payment, if not debtor?
                Mark T. Hendricks



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                      Dates of occupancy
                                                                                                                             From-To

 Part 8:       Health Care Bankruptcies

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
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                                        Case 18-14610                  Doc 1        Filed 04/06/18             Page 20 of 29
 Debtor      3-D Concepts, LLC                                                                          Case number (if known)



15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




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 Debtor      3-D Concepts, LLC                                                                          Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
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 Debtor      3-D Concepts, LLC                                                                          Case number (if known)



          within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mark T. Hendricks                                                                                  Owner                                 100




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      3-D Concepts, LLC                                                                          Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 6, 2018

 /s/ Mark Hendricks                                                     Mark Hendricks
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Owner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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                                                               United States Bankruptcy Court
                                                                      District of Maryland
 In re      3-D Concepts, LLC                                                                      Case No.
                                                                                Debtor(s)          Chapter     7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Owner of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       April 6, 2018                                           /s/ Mark Hendricks
                                                                     Mark Hendricks/Owner
                                                                     Signer/Title




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    American Express Business Lowe's
    P.O. Box 650448
    Dallas, TX 75265-0448



    Angel Donchev
    2410 17th St., NW
    Ste 308
    Washington, DC 20009



    Bank of America
    PO Box 982238
    El Paso, TX 79998-2238



    CitiBusiness Mastercard
    P.O. Box 78045
    Phoenix, AZ 85062-8045



    CitiBusiness Visa Card
    P.O. Box 78045
    Phoenix, AZ 85062-8045



    Comptroller of Maryland
    301 W. Preston Street
    Rm 409
    Baltimore, MD 21201



    Dr. Steven Price
    c/o Rubin, Winston, Diercks, Harris
    1201 Connecticut Ave, NW
    Ste 200
    Washington, DC 20036



    Home Depot
    P.O. Box 78047
    Phoenix, AZ 85062
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Internal Revenue Service
Department of the Treasury
P.O. Box 7346
Philadelphia, PA 19154-0030



Klaproth Law PLLC
Brendan J. Klaproth, Esq
406 5th St, NW
Ste 350
Washington, DC 20001
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                                                               United States Bankruptcy Court
                                                                        District of Maryland
 In re      3-D Concepts, LLC                                                                            Case No.
                                                                                 Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 3-D Concepts, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 April 6, 2018                                                       /s/ Marc A. Ominsky, Esq.
 Date                                                                Marc A. Ominsky, Esq. 13956
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for 3-D Concepts, LLC
                                                                     Law Offices of Marc A. Ominsky
                                                                     10632 Little Patuxent Pkwy
                                                                     Suite 249
                                                                     Columbia, MD 21044
                                                                     (443) 539-8712 Fax:(443) 539-8726
                                                                     marc@mdlegalfirm.com




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                                                               United States Bankruptcy Court
                                                                      District of Maryland
 In re      3-D Concepts, LLC                                                                          Case No.
                                                                              Debtor(s)                Chapter    7



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, Mark Hendricks, declare under penalty of perjury that I am the Owner of 3-D Concepts, LLC, and that the
following is a true and correct copy of the resolutions adopted by the Board of Directors of said corporation at a
special meeting duly called and held on the 1st day of March , 2018 .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Mark Hendricks, Owner of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 7 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that Mark Hendricks, Owner of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

       Be It Further Resolved, that Mark Hendricks, Owner of this Corporation is authorized and directed to
employ Marc A. Ominsky, Esq. 13956, attorney and the law firm of Law Offices of Marc A. Ominsky to represent the
corporation in such bankruptcy case."

 Date      April 6, 2018                                                     Signed   /s/ Mark Hendricks
                                                                                      Mark Hendricks




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                                            3-D Concepts, LLC




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Mark Hendricks, Owner of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 7 voluntary bankruptcy case on
behalf of the corporation; and

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       Be It Further Resolved, that Mark Hendricks, Owner of this Corporation is authorized and directed to
employ Marc A. Ominsky, Esq. 13956, attorney and the law firm of Law Offices of Marc A. Ominsky to represent the
corporation in such bankruptcy case.

 Date      April 6, 2018                                                         Signed


 Date      April 6, 2018                                                         Signed




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